Government    ✔                  Case 1:18-cr-00218-TSC
                                               United StatesDocument
                                                            of America 10 Filed 07/18/18 Page 1 of 1
Plaintiff                                                       VS.                           Civil/Criminal No. CR 18-218 (TSC)
Defendant
                                                         Mariia Butina
Joint
Court

EXHIBIT              DESCRIPTION OF EXHIBITS                   MARKED      RECEIVED            WITNESS            EXHIBITS
NUMBER                                                         FOR I.D.        IN                                 SENT INTO
                                                                           EVIDENCE                               JURY
                                                                                                                  (date & time)
             Note from Person #1's residence
     1       referencing FSB                                   7/18/2018   7/18/2018
             Photo of Defendant and suspected Russian
     2       Intel Operative at restaurant                     7/18/2018   7/18/2018
             Screen-shot of Russian conversation with
     3       Defendant and Russian Official, dated 1/20/2017   7/18/2018   7/18/2018
                                                                                       Joseph Stowell
